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 5

 6                                 UNITED STATES DISTRICT COURT
                                        DISTRICT OF NEVADA
 7

 8   FEDERAL NATIONAL MORTGAGE                             Case No.: 2:17-cv-01750-APG-BNW
     ASSOCIATION,
 9                                                         STIPULATION AND ORDER FOR
                    Plaintiff,                             DISMISSAL OF SOUTHERN HIGHLANDS
10           vs.                                           COMMUNITY ASSOCIATION
11
     SFR INVESTMENTS POOL 1, LLC; and
12   SOUTHERN HIGHLANDS COMMUNITY
     ASSOCIATION,
13
                 Defendants.
14   ______________________________________
15
     SFR INVESTMENTS POOL 1, LLC,
16
                    Counter/Cross-Claimant,
17           vs.
18
     FEDERAL NATIONAL MORTGAGE
19   ASSOCIATION; KEN YAO-HUI KWONG, an
     individual,
20
                    Counter/Cross-Defendants.
21

22           COMES NOW, Plaintiff/Counter-Defendant Federal National Mortgage Association (“Fannie
23   Mae”) and Defendant Southern Highlands Community Association (“HOA”), by and through their

24   counsel of record, and hereby stipulate and agree as follows:

25           WHEREAS, Fannie Mae and the HOA reached a resolution of Fannie Mae’s claims against the

26   HOA, which have been reduced to a written settlement agreement and the terms thereof completed in

27   full.
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 1          WHEREFORE, based on the foregoing,
 2          IT IS HEREBY STIPULATED AND AGREED that Fannie Mae’s Amended Complaint (ECF
 3   No. 32) against the HOA is hereby dismissed, with prejudice, each party to bear its own fees and costs.
 4          IT IS SO STIPULATED.
 5   Dated this 16th day of July, 2020.                    Dated this 16th day of July, 2020.
     WRIGHT, FINLAY & ZAK, LLP                             ALVERSON, TAYLOR & SANDERS
 6
 7   /s/ Christina V. Miller                               /s/ Alexander P. Williams
     Christina V. Miller, Esq.                             Alexander P. Williams, Esq.
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10   Attorneys for Plaintiff/Counter-Defendant             Attorneys for Defendant Southern Highlands
     /Counterclaimant Federal National                     Community Association
11   Mortgage Association
12
13
14          IT IS SO ORDERED.
15
            DATED ___________________________
16
17                                                         _______________________________________
                                                           UNITED STATES
                                                                   STATESMAGISTRATE     JUDGE
                                                                             DISTRICT JUDGE
18
                                                           Dated: July 17, 2020.
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